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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF VIRGINIA
                           ALEXANDRIA DIVISION


   BMG RIGHTS MANAGEMENT (US) LLC, )
   and ROUND HILL MUSIC LP,        )          Case No. 1:14-cv-1611 (LO/JFA)
                                   )
              Plaintiffs,          )
                                   )
         v.                        )
                                   )
   COX ENTERPRISES, INC., COX      )
   COMMUNICATIONS, INC., and       )
   COXCOM, LLC,                    )
                                   )
              Defendants.          )
                                   )

          DECLARATION OF CHRISTOPHER T. RUCINSKI IN SUPPORT
            OF DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT




              REDACTED VERSION SOUGHT TO BE SEALED
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       I, Christopher T. Rucinski, submit this declaration pursuant to 28 U.S.C. § 1746.

 I.     INTRODUCTION

       1.       I am a computer scientist working at Elysium Digital, L.L.C. (“Elysium Digital”),

a technical litigation consulting company in Boston, MA. Counsel for Cox Communications, Inc.

and CoxCom, LLC (collectively, “Cox”) retained me to submit this declaration in support of their

motion for summary judgment and in particular to comment on the evidence that the Rightscorp

software1 collects and does not collect regarding alleged copyright infringements. In this

declaration I will refer to BMG Rights Management (US) LLC as “BMG” and Round Hill Music

LP as “Round Hill.”

       2.       The facts in this declaration rest upon my personal knowledge and analysis of the

source code that Plantiffs’ agent Rightscorp produced in this lawsuit. I also rely on certain

testimony from the depositions of Rightscorp personnel and Plaintiffs’ technical expert Barbara

Frederiksen-Cross. I personally attended three of those depositions, including the July 29, 2015

Rule 30(b)(6) deposition of Greg Boswell of Rightscorp, who wrote the Rightscorp software; the

July 29, 2015 Rule 30(b)(6) deposition of Robert Steele of Rightscorp, who created the

specification for the Rightscorp software and supervised its development; and the August 12,

2015 expert deposition of Barbara Frederiksen-Cross. (I understand that Andrew Bridges has

attached and authenticated the relevant excerpts of the deposition transcripts to his declaration in

support of this motion; I reattach the salient portions of testimony to my declaration here.)

 II.    QUALIFICATIONS AND COMPENSATION

       3.       I graduated cum laude with an A.B. in Computer Science from Princeton

University in 2010, and in 2015 I obtained GCFE (GIAC2 Certified Forensic Examiner)

certification. In 2010 I began working at Elysium Digital, and in that capacity I have worked on

more than 50 technical matters to date. Many of those technical matters have involved analysis of

 1
   In this declaration I mean “Rightscorp software” to refer to the “technological system” that
 Rightscorp has developed as referenced in Dkt. 16 at ¶2.
 2
   “GIAC” stands for Global Information Assurance Certification.

                                                  1
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Java source code, and I have more than ten years of experience writing and analyzing Java source

code. I am also well-versed in a number of other programming languages including but not

limited to Python, C, Objective-C, Perl, and SQL.

        4.      I have provided consulting services for the Federal Trade Commission, and I

provided deposition testimony in 2013 in the matter of Shurtape Technologies, LLC et al. v. 3M

Company, U.S. District Court of Western North Carolina (Case No. 5:11-cv-00017) (trademark

dispute related to consumer statements on the Internet).

        5.      My CV is Exhibit 1 to this declaration.

        6.      Elysium Digital is being compensated for my time at my standard rate of $340 per

hour. Elysium Digital is also being compensated at varying rates ranging from $120 to $520 per

hour for the work of additional Elysium Digital employees who are working at my direction. All

compensation described above does not depend on the outcome of this case.

 III.    PREVIOUS WORK

        7.      I have submitted two expert reports in this matter. My first expert report, the

“Rebuttal Report of Christopher Rucinski” (“Rucinski Rebuttal”), was submitted on July 10,

2015. Rucinski Rebuttal is Exhibit 2 to this declaration. My second expert report, the

“Supplemental Rebuttal Report of Christopher Rucinski” (“Rucinski Supplemental”), was

submitted on July 31, 2015. Rucinski Supplemental is Exhibit 3 to this declaration. The

opinions I express in Rucinski Rebuttal and Rucinski Supplemental are my own; they accurately

reflect my analysis of the source code and data that Rightscorp produced in this matter. I

incorporate Rucinski Rebuttal and Rucinski Supplemental into the body of this declaration by

reference. My statements in this declaration are consistent with the facts and opinions I expressed

in, and come from the same analysis I performed in connection with, Rucinski Rebuttal and

Rucinski Supplemental.

 IV.    BITTORRENT TECHNOLOGY OVERVIEW

        8.      BitTorrent is a protocol that allows computers to exchange files with one another

in a distributed way. This differs from other protocols like the File Transfer Protocol (“FTP”) in

                                                 2
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that a given computer can receive different portions of a file from many computers as opposed to

receiving all portions of a file from a single computer. Users can use the BitTorrent protocol by

running a BitTorrent client application that is designed to use the BitTorrent protocol. In order to

download or upload particular files using the BitTorrent protocol, a user can find or create a

.torrent file (i.e. a file that ends with “.torrent” and conforms to a specific format, described

below) for use with their BitTorent client application.

        9.       A .torrent file identifies both a set of files that can be shared using that .torrent file

and a tracker that can facilitate that sharing. The section of the .torrent file that contains this and

other information is referred to as the “info” section of the .torrent file, and .torrent files are

generally identified by an “info hash,” which is a SHA-1 hash of the info section that provides an

identifying sequence of characters based on the contents of the info section. The .torrent file itself

does not contain any data from the files that can be shared using that .torrent file; it only contains

metadata about them. Using a given .torrent file, a BitTorrent client application can connect to

the associated tracker, which is a computer server that allows the BitTorrent client to identify

other computers that want to participate in uploading and/or downloading files associated with the

.torrent file. The computers that want to participate in this way are referred to as “peers.”

Collectively, the peers that are participating in exchanging files for a particular .torrent file are

referred to as a particular “swarm.”

        10.      I will refer to the set of files that can be uploaded and downloaded using a

particular .torrent file as the “torrent payload” associated with that .torrent file. When peers

upload or download portions of the torrent payload amongst each other, they do so in portions

called “pieces.” Each piece is a small part of the torrent payload (the .torrent file specifies the

size of each piece), and depending on how the torrent payload is structured, a particular piece may

contain data from one file or more than one file in the torrent payload. When a peer first connects

to another peer in the swarm, the BitTorrent protocol allows for each peer to send a “bitfield” that

identifies which pieces of the torrent payload each peer is willing to send. The two peers can then

begin to exchange pieces of the torrent payload between each other. Note that a peer participating

                                                     3
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in a swarm may configure its BitTorrent client application to only receive (rather than both

receive and transmit) pieces of a torrent payload, just as the Rightscorp software does. A peer

participating in a swarm may also configure its BitTorrent client to receive or transmit only

specific pieces of a torrent payload. 3

       11.      Peers connected to a swarm are uniquely identified by the combination of their IP

address and port. An IP address is similar to a mailing address in that it identifies a location for

data to be transmitted over the Internet, though it is dissimilar to a mailing address in that it may

be reassigned to a different location. An IP address may be assigned to a particular computer, or

it may be assigned to a gateway, which receives data on the Internet on behalf of multiple

computers and then forwards the data to the appropriate computer. Gateways use port numbers to

keep track of which computers should receive which data; an example of a gateway is a

modem/router combination configured in a home network to connect each household member’s

computer to the Internet. Port numbers can also be used for an individual computer to keep track

of data that is intended for specific applications running on that computer, with each application

using a different port number.

 V.     OVERVIEW OF RIGHTSCORP’S SOFTWARE
       12.      Rightscorp’s software processes for detecting instances of alleged copyright

infringement and generating notifications of claimed copyright infringement work as follows:4

               i.   Rightscorp claims to receive information about copyrighted music

                    compositions from respective copyright owners. I will refer to this process as

                    “ingestion.”5

              ii.   Rightscorp finds and downloads .torrent files from the Internet and matches

                    the metadata appearing in the “info” portion of the .torrent files against the



 3
   See Rucinski Supplemental at footnote 123.
 4
   See Rucinski Rebuttal at ¶11.
 5
   See Rucinski Rebuttal at ¶¶14 – 15.

                                                   4
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                    artist and title information for ingested works in order to determine a

                    preliminary list of .torrent files to target.6

             iii.   Rightscorp downloads the torrent payload associated with each such .torrent

                    file and uses some combination of Audible Magic and AcoustID fingerprint

                    technology (and in some cases, manual processes) in an attempt to verify

                    whether information in the names of the song files appearing in the torrent

                    payload appear to be accurate. Those .torrent files whose song files appear to

                    be accurately named based on the results of the fingerprint technology are

                    then flagged for further monitoring.7
             iv.    Rightscorp repeatedly connects to the swarm for each such .torrent file and

                    monitors the bitfield returned by IP addresses of the computers in the swarm.

                    If the bitfield indicates that a given IP address is willing to offer at least 10%

                    of the torrent payload to Rightscorp, then Rightscorp records an alleged

                    copyright infringement associated with that given IP address and port number

                    combination for that given .torrent file.8

              v.    Rightscorp multiplies each alleged copyright infringement associated with a

                    given .torrent file by the number of individual songs purportedly in the

                    payload of that .torrent file that Rightscorp is monitoring, creating a multitude

                    of alleged copyright infringements now each associated with an individual

                    song from a torrent payload, rather than just one alleged copyright

                    infringement associated with one .torrent file.9

             vi.    Rightscorp sends one or more automated emails to the Internet Service

                    Provider (“ISP”), e.g. Cox, informing the ISP about each alleged copyright

 6
   See Rucinski Rebuttal at ¶¶16 – 18.
 7
   See Rucinski Rebuttal at ¶¶19 – 23.
 8
   See Rucinski Rebuttal at ¶¶24 – 28.
 9
   See Rucinski Rebuttal at ¶¶29 – 30.

                                                    5
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                    infringement associated with each file associated with the individual .torrent

                    file.10

       13.      Rightscorp also provides a web-based interface intended for use by ISPs that

displays information gathered by its processes for detecting alleged copyright infringement

(described above). I understand that Rightscorp calls this interface the “Dashboard.”11

       14.      Separate from these processes, Rightscorp sometimes will download and store

portions of relevant torrent payloads downloaded from individual IP addresses. These torrent

payloads and the associated download information do not form a part of or impact the processes

described above for generating automated emails reporting alleged copyright infringements to

ISPs. In particular I have seen no evidence that indicates that these downloaded torrent payloads

have any effect on whether emails alleging copyright infringement are sent to any party.12
 VI.    WHAT EVIDENCE THE RIGHTSCORP SOFTWARE COLLECTS AND DOES

        NOT COLLECT REGARDING ALLEGED COPYRIGHT INFRINGEMENT

        A.      Finding .torrent Files and Attempting to Verify Files in the Payloads of

                .torrent Files

       15.      The Rightscorp software downloads, uses, and relies upon .torrent files that are

available on the Internet through websites that provide .torrent files for download, such as

“Kickass Torrents” at http://kickass.to, as part of its process for using the BitTorrent protocol to

identify conditions at IP address and port combinations for which it will later generate

notifications of claimed infringement.13 I have seen no evidence that Rightscorp, whether by

means of Rightscorp software or otherwise, sends any correspondence to websites such as

http://kickass.to that provide .torrent files for download to request that such websites remove or

otherwise disable access to the .torrent files that they provide for download and that correspond to

 10
    See Rucinski Rebuttal at ¶¶31 – 33.
 11
    See Rucinski Rebuttal at ¶¶34 – 35.
 12
    See Rucinski Rebuttal at ¶¶36 – 37.
 13
    See Rucinski Rebuttal at ¶¶16 – 17.

                                                   6
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any of the “Asserted Works,” which I will define to be the musical compositions identified by

Plaintiffs in Schedule B appended to Round Hill’s First Supplemental Responses to Defendant

CoxCom, LLC’s Interrogatory Nos. 1, 2, 8, and 9 and Schedule C appended to BMG’s Second

Supplemental Responses to Defendant CoxCom, LLC’s Interrogatory No. 1. Schedule B is

Exhibit 4 to this declaration, and Schedule C is Exhibit 5 to this declaration.

          16.      As part of the fingerprinting process, the Rightscorp software downloads files in

the torrent payload of each .torrent file that it determines to correspond to the Asserted Works in

order to try to verify that the downloaded files contain sound recordings that Rightscorp expects

to find. This process is performed with SampleIt3.java14 and related source code files, and

it does not involve downloading any files from specific peers in the swarm. I describe this

process in more detail in Rucinski Rebuttal ¶¶19 – 23. The Rightscorp software supports

associating multiple sound recordings (that correspond to the Asserted Works) with a single

.torrent file if those sound recordings appear to be in that .torrent file’s payload and then

downloading the files that appear to be those multiple sound recordings. I have not seen any of

the downloaded files that Rightscorp stored as a result of this fingerprinting process, and I do not

know whether or not Rightscorp maintains these downloaded files.

           B.      Monitoring Bitfields of IP Address and Port Combinations and Generating

                   Notifications of Claimed Infringement

          17.      The Rightscorp software used for purportedly determining infringement is neither

accurate nor reliable; I describe the operation of the Rightscorp software in Rucinski Rebuttal at

¶¶8 – 46.15

          18.      The most salient observation in that discussion is that the evidence related to

copyright infringement that the Rightscorp software collects about an IP address and port

combination before sending notifications of claimed infringement is only the percentage of pieces


 14
      In this declaration, terms in Courier font refer to specific files in the Rightscorp software.
 15
      See also Rucinski Supplemental at ¶¶12 – 28.

                                                      7
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 of the torrent payload that the peer at the IP address and port is willing to offer to disseminate.

 The Rightscorp software collects this evidence by recording the bitfield returned by peers as they

 connect to the Rightscorp BitTorrent client using the BitTorrent protocol. Some peers may use a

 technique called “lazy bitfield” where the peer possesses the entire torrent payload but transmits a

 bitfield that indicates it possesses only part of the torrent payload. Other peers may not possess

 the entire torrent payload and therefore also transmit a bitfield that indicates that it possesses only

 part of the torrent payload. The Rightscorp software does not distinguish between these two

 cases. If the percentage indicated by a peer’s bitfield is equal to or greater than 10%, then the

 software generates notifications of claimed infringement.16 In my extensive review of Rightscorp

 materials, I have seen no evidence that the Rightscorp software downloads any files in the torrent

 payload from a peer at a particular IP address and port as a condition for sending notifications of

 claimed infringement.17

                                 Exhibit 6 to this declaration consists of relevant excerpts from the

 August 12, 2015 Deposition of Barbara Frederiksen-Cross [87:8 – 22]. I have also seen no

 evidence that the Rightscorp software attempts to verify whether any files have been transmitted

 from one peer to another peer before Rightscorp sends notifications of claimed infringement for

 the IP address and port of either peer. Furthermore, I have seen no evidence that Rightscorp’s

 software verifies that any files have been transmitted from one peer to another peer at any other

 time, except upon the request of Rightscorp itself in connection with its selective download of full

 file samples. Because of this, I have seen no evidence that anyone used Cox’s services to receive

 or transmit (download or upload) any sound recordings corresponding to the Asserted Works.

        19.      The 10% bitfield threshold18 that the current version of Rightscorp’s software

 uses to determine whether to generate and send notifications of claimed infringement does not

 take into account which pieces of the torrent payload a given peer is offering to disseminate.

 16
    See Rucinski Rebuttal at ¶26.
 17
    See in particular Rucinski Rebuttal at ¶37.
 18
    See Rucinski Rebuttal ¶26.

                                                    8
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 Even if a peer is communicating, through the bitfield, that it is offering to disseminate only pieces

 that correspond to files that do not relate in any way to the Asserted Works, if the number of

 pieces that the peer is offering to disseminate equals or exceeds 10% of the total number of pieces

 in the torrent payload, then the Rightscorp software will generate notifications of claimed

 infringement for that peer for each sound recording in the torrent payload that appears to

 correspond to one of the Asserted Works. The BitTorrent protocol and Rightscorp software are

 described more generally above, but a specific example will be useful to illustrate this

 phenomenon.

                i.   Plaintiffs BMG and Round Hill have identified their asserted copyrights in

                     this case in their supplementary responses to Interrogatory 1. As of July 31,

                     2015, when I submitted Rucinski Supplemental, the most up-to-date record of

                     these asserted copyrights was the two Schedule Bs appended to Plaintiffs

                     respective First Supplemental Responses to Defendant CoxCom, LLC’s

                     Interrogatory Nos. 1, 2, 8, and 9. Exhibit 7 to this declaration is Schedule B

                     appended to BMG’s First Supplemental Responses to Defendant CoxCom,

                     LLC’s Interrogatory Nos. 1, 2, 8, and 9. Exhibit 4 to this declaration is

                     Schedule B appended to Round Hill’s First Supplemental Responses to

                     Defendant CoxCom, LLC’s Interrogatory Nos. 1, 2, 8, and 9. Since then, on

                     August 12, 2015, BMG changed its list of copyrights in this case with

                     Schedule C that it appended to BMG’s Second Supplemental Response to

                     Defendant CoxCom, LLC’s Interrogatory No. 1, which is Exhibit 5 to this

                     declaration.




                                                   9
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              ii.   The infractions19 database table20 was produced by Rightscorp, and it includes

                    a row related to a .torrent file that includes a large number of files with names

                    that suggest that the files are sound recordings of songs that the Beatles

                    performed. That .torrent file has an info hash of

                    “7dfe8b642d412ac86c5e90921ae35f3d81b707cf”. I have identified a .torrent

                    file (“Beatles Discography Torrent File”) with the same hash,21 which is

                    Exhibit 8 to this declaration. There are 329 files identified in the Beatles

                    Discography Torrent File; most appear to be sound recordings, but others

                    appear to be image files.




 19
    In addition to their standard usage regarding emphasis, I use italics in this declaration to
 identify the names of database tables used by the Rightscorp software.
 20
    The infractions database table was produced by Rightscorp in a CSV file,
 RGHTS00011291_STEPRIGHT00006233.
 21
    I searched at https://www.google.com for the info hash, and found a .torrent file with the same
 info hash at http://torrenthound.com/torrent/7dfe8b642d412ac86c5e90921ae35f3d81b707cf .
 Matching info hashes is a sound way to identify a .torrent file since there is a vanishingly small
 chance that two different .torrent files will have the same info hash. See the Report of Barbara
 Frederiksen-Cross, submitted on June 19, 2015, at footnote 11, which is Exhibit 12 to this
 declaration.

                                                 10
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             iii.   According to the Beatles Discography Torrent File, there are 912 pieces22 in

                    the torrent payload, and each piece is 2MB in length.23 If a peer offered to

                    disseminate as few as 92 pieces of the 912 total pieces (i.e., at least 10%), then

                    the Rightscorp software would generate notifications of claimed infringement

                    from that peer for every one of the Beatles Files at Issue.



                            The Rightscorp software doesn’t check whether a peer offers to

                    disseminate those                     when applying the 10% threshold. For

                    instance, there are two directories in the torrent payload entitled “The Beatles

                    – 1968 – The Beatles (The White Album)/Disc 1/” and “The Beatles – 1968 –

                    The Beatles (The White Album)/Disc 2/”,

                                           Altogether, the files in those two directories of the

                    torrent payload are more than 200 MB in size, which means that they span

                    more than 100 pieces. If a peer used the bitfield to offer to disseminate only

 22
    Offset 0x904C identifies 18,240 bytes dedicated to hashes for all the pieces, and each hash is
 20 bytes in length, so there are 912 pieces.
 23
    Offset 0x903C identifies 2,097,152 bytes per piece, which is 2MB.

                                                 11
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                      the files in those two directories, the Rightscorp software would still generate

                      notices of claimed infringement for




                                    the Rightscorp software makes no attempt to verify that the peer

                      actually does either of those things as a condition for generating and sending

                      the notifications of claimed infringement.

          20.     The Rightscorp software uses the BitTorrent protocol to identify IP address and

 port combinations that send a bitfield indicating that the peer at that IP address and port is

 offering to disseminate to send 10% of the pieces of the torrent payload. The Rightscorp software

 notes the particular dates and times the bitfield was observed and subsequently generates and

 sends notifications of claimed infringement for those IP address and port combinations.24 The

 Rightscorp software cannot attribute the bitfield it observes to particular individuals because

 Rightscorp cannot know, from the IP address, port, and time alone, the person who controls the

 computer from which the bitfield originated.25 Instead, if Rightscorp associates the IP address

 with Cox at the date and time at issue, the Rightscorp software sends the notifications of claimed

 infringement to Cox to give Cox the opportunity to identify the Cox account holder to whom it

 had assigned the IP address at the date and time at issue. Individual IP addresses can belong to

 multiple Cox account holders over time, and Rightscorp cannot determine which account holder

 had a given IP address at a given time. In some cases, Cox can identify which account holder had

 a particular IP address at a particular time, but it cannot determine whether or not the Cox account

 holder was using a computer at that IP address at that time or even whether any other particular

 individuals were using a computer at that IP address at that time. Multiple computers can access


 24
      See Rucinski Rebuttal at ¶¶24 – 33.
 25
      See also Rucinski Rebuttal at ¶¶29 – 33.

                                                   12
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 the Internet at the same time through a single IP address assigned by an ISP (e.g. computers of

 friends, family, roommates, neighbors, employees, patrons, etc. connecting to the same local Wi-

 Fi network), and Cox cannot determine which such computer, if any, a Cox account holder is

 using at any given time. Therefore the Rightscorp software does not, and cannot, determine that

 any conditions it observes at IP address and port combinations are attributable to Cox account

 holders.

        21.      The Rightscorp software records alleged infringements as follows. First, it

 identifies .torrent files and the sound recordings that it is looking for that are part of the payloads

 that the .torrent files describe. Then the Rightscorp software looks for peers using the BitTorrent

 protocol that exhibit bitfield information showing that the peers are willing to share at least 10%

 of the torrent payload corresponding to a particular .torrent file. When it finds a peer offering at

 least that 10% portion of a torrent payload, Rightscorp assumes that the peer is offering every

 song that it monitors within the entire torrent payload. Then Rightscorp keeps monitoring the

 same peer computer on multiple occasions. Every time it observes the same 10% threshold of the

 torrent payload indicated by the bitfield sent by the peer, it records these subsequent observations

 in the same way that it recorded the first. Thus if a torrent payload has 300 songs, and Rightscorp

 monitors 80 of them, the process is as follows: (1) When Rightscorp finds a bitfield indicating

 that the associated peer is offering to disseminate at least 10% of the payload, Rightscorp assumes

 that peer has engaged in 80 infringements of the songs Rightscorp monitors, without Rightscorp

 confirming that the songs are actually present or that the peer is actually disseminating them.

 (2) Rightscorp’s software will generate 80 notifications of claimed infringement based on that one

 faulty observation because Rightscorp sends one notification of claimed infringement per

 allegedly infringed work in one observation. (3) When Rightscorp revisits that peer 100 times

 and observes the exact same conditions, Rightscorp records that as 8,000 infringements (80 times

 100) and sends 8,000 notifications of claimed infringement – all with no change to the peer

 conditions, no evidence that the peer actually has the songs, and no evidence that the peer actually

 transmits the songs to anyone. The only check on the number of notifications of claimed

                                                    13
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 infringement that get sent in this manner is a mechanism that limits the generation of notifications

 of claimed infringement to one per IP address, port, and filename combination per day. This

 check does not prevent the same sound recording (or even different sound recordings of the same

 musical composition as evidenced above by the Beatles Files at Issue) with different filenames

 from resulting in multiple notifications of claimed infringement on the same day. I also cannot

 determine exactly when this check was implemented in the Rightscorp source code. I discuss this

 process in more detail in Rucinski Rebuttal ¶¶24 – 33 and Rucinski Supplemental ¶¶25 – 28. This

 implementation in the Rightscorp software means that a single faulty monitoring event of the

 Rightscorp software can result in many notifications of claimed infringement on one occasion,

 and repeated monitoring can yield an enormous number of notifications of claimed infringement

 in a short time period.

         22.      The Rightscorp system can send multiple notifications of claimed infringement

 per day to an ISP where those notifications of claimed infringement concern the same IP address,

 port, and filename; I discuss this is more detail in Rucinski Supplemental at ¶¶26 – 28. I also

 identify five notifications of claimed infringement sent to Cox in Rucinski Rebuttal at ¶45 where

 the IP address, port, filename, .torrent file, and date are identical. Plaintiffs suggest that these five

 notifications are intended to be an exhaustive list,26 but these five notifications of claimed

 infringement are merely illustrative and not meant to be exhaustive. They demonstrate that the

 Rightscorp software, at least at the time it generated those notifications, did not prevent these

 notifications from being generated despite all of them having the same IP address, port, filename,

 .torrent file, and date.

         23.      Plaintiffs’ First Amended Complaint on December 10, 2014, identifies exactly

 three IP addresses as examples of “egregious repeat infringers”; those IP addresses are

 98.185.52.220, 24.252.149.211, and 98.176.207.69.27 Exhibit 9 to this declaration is the rows

  26
     Dkt. 265 at page 6: “For example, Cox’s expert, Christopher Rucinski, stated that five notices
  out of the over 2.5 million notices sent to Cox violated a Rightscorp script because they were
  sent on the same day for the same infringement.” (emphasis in original).
  27
     Dkt. 16 at ¶¶27 – 28.
                                                    14
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 from the infractions table that Rightscorp produced, filtered to only include rows corresponding to

 the IP address 98.185.52.220. Exhibit 10 to this declaration is the rows from the infractions table

 that Rightscorp produced, filtered to only include rows corresponding to the IP address

 24.252.149.211. Exhibit 11 to this declaration is the rows from the infractions table that

 Rightscorp produced, filtered to only include rows corresponding to the IP address 98.176.207.69.

 Rightscorp alleges that in total these three IP addresses engaged in 114,103 acts of copyright

 infringement.28




 28
      Dkt. 16 at ¶27.
 29



 30




 31




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                                                       none relate to any of the full file samples that

 Rightscorp produced in this case (which I attempted to match by infraction GUID). Exhibit 9,

 Exhibit 10, and Exhibit 11 also illustrate how Rightscorp detects multiple infringements per day

 (the “idate” column label indicates the time of the bitfield observation for a given row) for the

 same IP address and port combination for the same filename32 as well as likely multiple versions

 of the same sound recording for the same IP address and port combination, despite a slightly

 different filename, in the same torrent payload.33 Rightscorp also asserts specifically that, “Cox

 has received 54,489 individual notifications for each act of copyright infringement committed by

 its subscriber having IP address 98.185.52.220.”34




 32
      See at least rows 7 and 8 of Exhibit 9.
 33
      See at least rows 1564 and 1565 of Exhibit 10,


 34
      Dkt. 16 at ¶27.

                                                  16
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           C.     Full File Downloads That Rightscorp Caused

          24.     The Rightscorp software has the capability to download and store full files of

 sound recordings corresponding to Plaintiffs’ underlying compositions from specific peers.

 Plaintiffs refer to this capability in their First Amended Complaint filed on December 10, 2014:

 “The [Rightscorp] system also has the capability to acquire entire files from the infringing host

 computers.”35 The SampleIt2.java file is primarily responsible for this full file acquisition

 capability, though other source code files are used in the process as well.36 The only full file

 downloads of which I am aware that SampleIt2.java created are on two hard drives that

 Rightscorp produced for this litigation and that are the subject of my analysis in Rucinski

 Supplemental at ¶¶57 – 66. These full file downloads targeted Cox IP addresses, and none of

 these full file downloads occurred before February 2014.

          25.     I have seen no evidence that full file downloads occur as part of a sampling ratio.




                                            Exhibit 12 to this declaration is Frederiksen-Cross

 Opening, and Exhibit 13 to this declaration is the corrected version of Frederiksen-Cross Reply.

 In his deposition, Mr. Steele did not recall communicating that information about the sampling

 ratio. Exhibit 14 to this declaration is the relevant excerpt from the July 29, 2015 deposition of

 Robert Steele [47:20 – 48:25].

          26.



                                                                    Exhibit 15 to this declaration is


 35
      Dkt. 16 at ¶2.
 36
      See Rucinski Rebuttal at ¶¶36 – 37.

                                                   17
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 the relevant excerpt from the July 3, 2015 Deposition of Greg Boswell [251:4 – 252:10]. I

 understand that Rightscorp also had a dispute of some kind with Grande. Exhibit 16 to this

 declaration is a May 11, 2015 Ars Technica article entitled “Small ISP stands up to Rightscorp’s

 ‘piracy fishing expedition’ and wins,” which mentions the dispute with Grande.




          27.     In connection with Rucinski Supplemental, I analyzed the full file samples that

 Rightscorp collected to see to what extent they related to the copyrighted works asserted in this

 case as of July 2015, which I will refer to as the “Previous Asserted Works”. According to the

 music file samples Rightscorp produced, I found that Rightscorp collected full file samples for

 only a relatively small fraction (about 4.6%) of the notices it tried to send to Cox regarding the

 Previous Asserted Works.37 After submitting Rucinski Supplemental on July 31, 2015, BMG,

 one of the plaintiffs in this case, submitted a new listing of asserted works. Exhibit 5 to this

 declaration is Schedule C appended to BMG’s Second Supplemental Response to Defendant

 CoxCox, LLC’s Interrogatory No. 1. I have performed an analysis using the same methodology I

 used in Exhibit D of Rucinski Supplemental taking into account this new list of Asserted Works;

 that analysis is Exhibit 17 to this declaration.

          28.     The full file samples that Rightscorp did collect reveal multiple errors in its

 detection of alleged infringements. I discuss this in detail in Rucinski Supplemental at ¶¶63 – 66,

 but in summary there were multiple instances of (1) full file samples not matching the

 corresponding song title in the produced infractions database table and (2) files that are not sound

 recordings (e.g. pictures, PDFs, and videos) being sampled and associated with songs in the

 infractions table. I attach to this declaration two such pictures and two such PDFs as the

 following exhibits: Exhibit 18,38 Exhibit 19,39 Exhibit 20,40 and Exhibit 21.41 Barbara

 37
      See Rucinski Supplemental at Exhibit D. 116,732 / 2,544,846 ≈ 0.046
 38




                                                    18
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 Frederiksen-Cross testified




                            Exhibit 22 to this declaration is a selection of relevant excerpts from the

 August 12, 2015 Deposition of Barbara Frederiksen-Cross [146:8 – 147:21, 153:10 – 157:19].




 Exhibit 23 to this declaration is the relevant excerpt from the June 11, 2015 Deposition of Robert

 Steele [136:19 – 22]. Nevertheless, it remains unclear to me whether Rightscorp used Audible

 Magic, Acoustid, or a manual process to attempt to verify any particular sound recording at any

 given time42 and the resulting errors I identified above cause me to question the reliability of this

 verification process. Had Rightscorp collected full file samples for more than just the very small

 percentage of notifications of claimed infringement that it actually did collect, it is possible that

 those additional full file samples would have contained errors as well, but it is impossible to know

 one way or another because Rightscorp apparently did not download those full file samples.

          29.     Although the Rightscorp software does download some files of sound recordings

 that embody the Asserted Works from specific IP address and port combinations, for the reasons

 I state in ¶27 of this declaration, I have seen no evidence that the Rightscorp software accurately


 39


 40




 41




 42
      See Rucinski Rebuttal at ¶23.

                                                    19
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 determines whether Cox account holders sent files embodying the Asserted Works to anyone at

 all. Similarly, I have seen no evidence that the Rightscorp software accurately determines

 whether Cox account holders actually transmitted any files or copies of works to the public. I

 have also seen no evidence that the samples that Rightscorp collected using its software were as a

 result of downloads from Cox account holders. The only downloaded music files I have seen are

 music files that were selectively downloaded by the Rightscorp software, and I have seen no

 evidence that accurately determines the individuals from whom Rightscorp downloaded those

 music files.

 VII.    EVIDENCE OF WHAT HISTORICAL VERSIONS OF RIGHTSCORP

         SOFTWARE COLLECT AND DO NOT COLLECT REGARDING ALLEGED

         COPYRIGHT INFRINGEMENT

        30.      I discuss historical versions of Rightscorp software corresponding to the operation

 of the software at some point in 2013 in Rucinski Supplemental at ¶¶29 – 49. While the historical

 source code files that Rightscorp produced provide some information as to how the historical

 versions of Rightscorp software operated, relevant source code files are missing, and I am

 therefore unable to determine the evidentiary basis for any specific notifications of claimed

 infringement that Rightscorp generated using historical versions of its software. For example, the

 historical versions of Rightscorp software do not indicate the origin of .torrent files that the

 software used and how or whether the software compared them to a list of works at issue.43 The

 historical versions of Rightscorp software also do not indicate how Rightscorp verified sound

 recording files from torrent payloads.44 I also do not know whether the historical versions of

 Rightscorp software employed some ancillary process similar to the 10% bitfield threshold of the

 current version, though the implementation of Test5.java in the historical versions of

 Rightscorp software is compatible with such an ancillary process being present.45 The historical

 43
    See Rucinski Supplemental at ¶¶31 – 34.
 44
    See Rucinski Supplemental at ¶¶35 – 36.
 45
    See Rucinski Supplemental at ¶37.

                                                    20
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 versions of Rightscorp software also do not include any substance regarding how Rightscorp

 calculated the appropriate number of notifications of claimed infringement to send.46 The

 historical versions of Rightscorp software also do not include any substance relating to the actual

 generation of notifications of claimed infringement, and they do not include any substance

 relating to the identifications of IP address and port combinations that Rightscorp might identify

 as “repeat infringers”.47 While the historical versions of Rightscorp software do include historical

 versions of SampleIt2.java that function similarly to the most current version of

 SampleIt2.java that Rightscorp has produced, I cannot determine from the historical

 versions of Rightscorp software the extent to which Rightscorp actually used

 SampleIt2.java to download sound recordings.

          31.     For any particular notification of claimed infringement generated by historical

 Rightscorp code, I cannot know the software that was used to generate it because full historical

 versions of Rightscorp code have not been produced. While some of the produced historical code

 demonstrates how the software operated on data at certain points in the process, I cannot know the

 extent to which historical code that was not produced operated on and changed data further, either

 before or after it was processed by the historical code that was produced. Examining in isolation

 the historical source code modules that Rightscorp produced is not enough for me to determine

 how those source code modules interacted with the rest of the Rightscorp software, and it does not

 allow me to even determine how those source code modules interacted with each other. While the

 historical source code modules that Rightscorp produced are integral to the operation of the

 historical Rightscorp system, there are other source code modules that Rightscorp did not produce

 that are also integral to the operation of that same system.




 46
      See Rucinski Supplemental at ¶38.
 47
      See Rucinski Supplemental at ¶39.

                                                   21
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 I declare under the penalty of perjury that the foregoing is true and correct. Executed September

 21, 2015.




                                       Christopher T. Rucinski




                                                  22
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                         CERTIFICATE OF SERVICE

       I hereby certify that on September 21, 2015, the foregoing was filed and
 served electronically by the Court’s CM/ECF system upon all registered users.


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